CRIMINAL COVER SHEET
MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION

Indictment (X)
Complaint () County of Offense: Smith
Information ( ) AUSA’s NAME: Josh Kurtzman
Felony (X)
Misdemeanor ( ) Reviewed by AUSA: JK
Juvenile ( ) (Initials)
Paul Faye Sr.
Defendant's Full Name
Interpreter Needed? Yes x No

Defendant's Address
If Yes, what language?

Defendant's Attorney
MAX. PRISON (plus
COUNT(S) TITLE/SECTION OFFENSE CHARGED any mandatory minimum) MAX. FINE
26 U.S.C. 5841 .
1,4,6 | 26U.S.C. 5861(d) and | Possession — non-registered firearm Maximum of 10 years $10,000
26 U.S.C. 5871 imprisonmen
25 26 U.S.C. 5861(i) and Possession of a firearm not identified by Maximum of 10 years $10,000
, 26 U.S.C. 5871 a serial number imprisonment ,
26 U.S.C. 5812
3 26 U.S.C. 5841 Unlawful transfer of a non-registered Maximum of 10 years $10,000
26 U.S.C. 5861 (e) firearm imprisonment ,
26 U.S.C. 5871

*If the defendant is found to be an Armed Career Criminal, pursuant to 18 U.S.C. § 924(e), defendant will be subject to a term of
imprisonment of between 15 years to life.

**A charge pursuant to 8 U.S.C. § 1326, may carry a maximum sentence of one of the following: (1) up to 2 years; (2) up to 10
years; or (3) up to 20 years, depending upon a defendant’s criminal and removal history.

Is the defendant currently in custody? Yes (X) No() If yes, State or Federal? Writ requested (N/A)
Has a complaint been filed? Yes (X) No ()
If Yes: Name of the Magistrate Judge _ Barbara D. Holmes Case No.: 24-mj-01036
Was the defendant arrested on the complaint? Yes ( ) No (X)
Has a search warrant been issued? Yes (X) No ()
lf Yes: Name of the Magistrate Judge _ Holmes Case No.:_24-mj-1034, 1035, 1037
Was bond set by Magistrate/District Judge? Yes () No (X) Amount of bond:
Is this a Rule 20? Yes ( ) No (X) To/from what district?
Is this a Rule 40? Yes ( ) No (X) To/from what district?
Estimated trial time: 3 Days

The Clerk will issue a sunmonsiQrant (circle one) (Note: If information, request for a warrant requires presentment of a sworn
affidavit of probable cause to a jutictal officer, who will determine whether to issue a warrant)

Detention requested: Yes (X) No( ) Recommended conditions of release:

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